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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 18-61406-CIV-SELTZER
                                  (CONSENT CASE)

  GEZETA BAJJO-HEADLEY,

        Plaintiff,

  v.

  A LOVING HEART, INC.,
  JOSE CORDERO, and
  ODALYS CORDERO,

       Defendants.
  ________________________________/

             ORDER APPROVING FLSA SETTLEMENT AND DISMISSING CASE

        THIS CAUSE is before the Court upon the Plaintiff’s Motion for Approval of Parties’

  Settlement and Dismissal With Prejudice [DE 28], which is unopposed by Defendants.

  The parties having announced the terms of their Settlement Agreement in open court on

  September 26, 2018, the Court finds that the terms of the Settlement Agreement reflect

  a reasonable compromise of disputed issues, are fair and reasonable, and meet the

  standard set forth in Lynn’s Food Stores, Inc. v. United States, 679 F.2d 1350 (11th Cir.

  1982). Accordingly, it is hereby

        ORDERED AND ADJUDGED as follows:

        1.      The Motion for Approval of Settlement Agreement [DE 28] be and the same

                is GRANTED;

        2.      The Settlement Agreement announced in open court          is APPROVED,

                and the above-styled action is DISMISSED WITH PREJUDICE;
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       3.    The Clerk of the Court is directed to CLOSE this case and DENY AS MOOT

             any pending motions;

       4.    The Court retains jurisdiction to enforce the terms of the parties Settlement

             Agreement should enforcement become necessary.

       DONE AND ORDERED in Chambers, Fort Lauderdale, Florida, this 28th day of

 September 2018.




 Copies furnished counsel via CM/ECF




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